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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA                      *
                                               *
 V.                                            *    CASE NO. 4:18CR00512-01 SWW
                                               *
                                               *
 JP SMITH, III                                 *
                                               *

                                          ORDER

       On December 4, 2019, the Court held a pretrial hearing in this case to address

several matters, including Defendants’ pretrial motions to sever for separate trials [ECF

No. 43], to suppress tangible evidence [ECF No. 46], for a bill of particulars [ECF No.

47], for dismissal of the superseding indictment [ECF No. 50], and the United States’

responses in opposition [ECF Nos. 48, 49, 51, 52]. At the conclusion of hearing, the

Court denied each of Defendant’s pretrial motions, without prejudice to reappointed

counsel, Crystal J. Okoro, filing similar motions on Defendant’s behalf. This order

reaffirms the Court’s rulings on Defendant’s pretrial motions.

                                      Motion to Sever

       The superseding indictment in this case, filed November 6, 2019, charges

Defendant JP Smith, III with possession with intent to distribute cocaine (Count One) and

marijuana (Count Two), being a felon in possession of firearms (Count Three), and using

those firearms in furtherance of a drug trafficking crime (Count Four). The superseding

indictment also contains 2 forfeiture allegations that seek the forfeiture of seized

firearms.

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           Defendant moves pursuant to Rules 8(a) and 14 of the Federal Rules of Criminal

Procedure to sever for trial Counts 1 and 2 from Counts 3 and 4. He argues that evidence

about his prior convictions would prejudice him in the eyes of the jury with respect to the

drug counts—Counts 1 and 2. He argues that the prior felonies alleged in support of

Count 3 occurred more than 9 years ago and that “there is no relevance in the

Defendant’s prior convictions to alleged crimes charged . . . except to gain a tactical

advantage and prejudice the defendant.”1 He further argues that the evidence will show

that the firearms he allegedly possessed contained no identifiable fingerprints. Finally,

Defendant argues that the firearms he allegedly possessed were seized at a different time

and location than the drugs.

           In response to Defendant’s motion to sever, the United States reports that the

firearms and drugs at issue in this case were recovered together on January 13, 2018,

during the execution of a search warrant for a Blytheville residence. The government

states that Smith was present at the residence when officers arrived, and when they

knocked, he jumped out of a back window, with a pistol, which was later recovered. The

government reports that Smith fled but was soon apprehended, at a nearby location, and

that inside the residence, officers found two additional firearms, marijuana, cocaine, and

drug paraphernalia.

           Federal Rule of Criminal Procedure 8(a) provides:

           The indictment . . . may charge a defendant in separate counts with 2 or
           more offenses if the offenses charged--whether felonies or misdemeanors or
           both--are of the same or similar character, or are based on the same act or

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    ECF No. 43, at 4.

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       transaction, or are connected with or constitute parts of a common scheme
       or plan.

       Offenses are of the “same or similar character” when they “refer to the same type

of offenses occurring over a relatively short period of time, and the evidence as to each

overlaps.’” United States v. Boyd, 180 F.3d 967, 981 (8th Cir. 1999)(quoting United

States v. Lindsey, 782 F.2d 116, 117 (8th Cir.1986)). The Eighth Circuit has previously

held that a 17-month period did not violate the “relatively short period of time”

requirement. See Lindsey, 782 F.2d at 117. Here, Smith was arguably in possession of

the firearms and drugs at issue, at the same residence and at the same time, and it is

“reasonable to assume that the firearms could have been used as a vital part of a plan to

possess and distribute drugs.” Boyd, 180 F.3d at 982(quoting United States v. Gorecki,

813 F.2d 40, 42 (3d Cir.1987)(drugs and weapons connected temporally and logically)).

Because the drug-related and firearms-related charges are connected both temporally and

logically, they are reasonably joined under Rule 8(a).

       Even where counts are properly joined, Rule14 allows the court to sever if it

appears that a defendant is prejudiced by joinder. The decision is reviewed for an abuse

of discretion resulting in clear prejudice. United States v. Mason, 982 F.2d 325, 327 (8th

Cir.1993); United States v. Johnson, 944 F.2d 396, 402 (8th Cir.), cert. denied, 502 U.S.

1008, 112 S. Ct. 646, 116 L.Ed.2d 663 (1991). The Eighth Circuit has noted that “a

defendant does not suffer any undue prejudice by a joint trial if the evidence is such that

one crime would be probative and admissible at the defendant’s separate trial of the other




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crime.” Boyd, 180 F.3d at 981(quoting United States v. Davis, 103 F.3d 660, 676 (8th

Cir. 1996).

           Because evidence that Smith possessed with intent to distribute illegal drugs

would be probative and admissible in a separate trial on the firearms counts, Smith will

suffer no prejudice if the crimes are tried together. Additionally, the Eighth Circuit has

held that given the nexus between drug crimes and weapons, evidence of firearms

possession is probative evidence of drug trafficking and the admissible in a separate trial

on drug charges. United States v. Jones, 880 F.2d 55, 62 (8th Cir. 1989). Furthermore,

the Eighth Circuit has held that a limiting instruction regarding the proper use of a prior

conviction diminishes the danger of unfair prejudice. See United States v. Strong, 415

F.3d 902, 906 (8th Cir. 2005). In sum, Defendant will suffer no prejudice if the offenses

charged are tried in a single trial.

                                       Motion to Suppress

           Smith seeks to suppress tangible evidence of the seized cocaine, marijuana, and

firearms because on grounds that they were not maintained in a continuous chain of

custody and that the weight of marijuana reported seized is more than the weight

recorded in a state crime lab report. Smith argues that chain-of-custody reports “suggest

that the tangible evidence were [sic] not been [sic] adequately maintained and preserved

while in the possession of the government and that evidence had been tampered with.”2




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    ECF No. 46, at 3.

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       “[I]n order for evidence to be admissible, a chain of custody must exist that shows

a reasonable probability that the evidence has not been changed or altered.” United States

v. Lothridge, 332 F.3d 502, 504 (8th Cir.2003). “In making this determination, absent a

showing of bad faith, ill will, or proof of tampering, the court operates under a

presumption of integrity for the physical evidence.” Cannon, 88 F.3d at 1503.

United States v. Wilson, 565 F.3d 1059, 1066 (8th Cir. 2009).

       Here, Defendant points to no evidence of bad faith or tampering. Without such

evidence, the integrity of the evidence is presumed, and Smith’s argument goes to the

weight of the evidence rather than admissibility. See United States v. Ortega, 750 F.3d

1020, 1026 (8th Cir. 2014)(citing Melendez-Diaz v. Massachusetts, 557 U.S. 305, 336,

129 S. Ct. 2527, 2546, 174 L. Ed. 2d 314 (2009)(noting that gaps in the chain of custody

normally go to the weight of the evidence rather than its admissibility).

                               Motion for Bill of Particulars

       Defendant moves for a bill of particulars, which he says is necessary to prepare a

defense, avoid prejudicial surprise at trial, and protect him from double jeopardy. The

purpose of a bill of particulars is to inform the defendant of the nature of the charges

against him and to prevent or minimize the element of surprise at trial. See United States

v. Garrett, 797 F.2d 656, 665 (8th Cir. 1986)(citations omitted). A bill of particulars,

however, is not a proper tool for discovery, and it is not to be used to provide detailed

disclosure of the government’s evidence at trial. See United States v. Wessels, 12 F.3d

746, 750 (8th Cir. 1993)(citing United States v. Automated Medical Laboratories, Inc.,

770 F.2d 399, 405 (4th Cir.1985)).

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       The Court finds that the superseding indictment adequately informs Defendant of

the charges against him and sets out the elements of each offense, with citation to the

statutes, and it provides facts constituting each offense. Additionally, the United States

reports that Smith has received and continues to receive discovery in accordance with

Rule 16.

                                    Motion to Dismiss

       According to Defendant, the superseding indictment fails to satisfy constitutional

and statutory pleading standards as to Counts 1, 2, 3, and 4 and the forfeiture allegations.

He argues that the government fails to allege facts that he “knowingly and intentionally

possessed and intended to distribute controlled substances” and fails to allege facts

connecting him to the seized drugs. Smith also argues that the forfeiture allegations must

be dismissed because it was not commenced within 120 days of the January 13, 2018

seizure of the firearms.

       “[A]n indictment is sufficient if it, first, contains the elements of the offense

charged and fairly informs a defendant of the charge against which he must defend, and,

second, enables him to plead an acquittal or conviction in bar of future prosecutions for

the same offense.” Hamling v. United States, 418 U.S. 87, 117, 94 S. Ct. 2887, 41

L.Ed.2d 590 (1974). “Typically, an indictment is not sufficient only if an essential

element of the offense is omitted from it.” United States v. Cuervo, 354 F.3d 969, 983

(8th Cir. 2004), cert. granted, judgment vacated on other grounds, Schoenauer v. United

States, 543 U.S. 1099, 125 S. Ct. 1050, 160 L. Ed. 2d 994 (2005). Here, the superseding



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indictment tracks the statutory language of the crimes charged, and each count includes

each element of the crime charged.

       As for the forfeiture count, 18 U.S.C. § 924(d)(1) states: “Any action or

proceeding for the forfeiture of firearms or ammunition shall be commenced within one

hundred and twenty days of such seizure.” But this 120-day time limitation relates to

civil forfeiture actions, not criminal forfeiture, which is governed by 28 U.S.C. § 2461(c)

and Federal Rule of Criminal Procedure 32.2. Section 2461( c) states in pertinent part:

       If a person is charged in a criminal case with a violation of an Act of Congress
       for which the civil or criminal forfeiture of property is authorized, the
       Government may include notice of the forfeiture in the indictment or
       information pursuant to the Federal Rule of Criminal Procedure. . . .The
       procedures in section 413 of the Controlled Substances Act (21 U.S.C. 853)
       apply to all stages of a criminal forfeiture proceeding . . . .

Title 21 U.S.C. § 853, in turn, makes no mention as to time limitations for forfeiture in

criminal cases. This is because forfeiture in a criminal case is timely so long as the

underlying offense in the indictment is within the statute of limitations. United

States v. Ayers, 2007 WL 496674, at *2 (S.D. Ohio 2007)(where the substantive counts in

an indictment are filed within the statute of limitations, the forfeiture count will be

considered timely filed as well). Because the substantive counts of the superseding

indictment are timely, so are the forfeiture allegations.




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      IT IS THEREFORE ORDERED that Defendants’ motion to sever [ECF No. 43],

motion to suppress [ECF No. 46], motion for bill of particulars [ECF No. 47], and motion

to dismiss [EF No. 50] are DENIED without prejudice to resubmission by reappointed

defense counsel.

      IT IS SO ORDERED THIS 4TH DAY OF DECEMBER, 2019.

                                               /s/Susan Webber Wright
                                               UNITED STATES DISTRICT JUDGE




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